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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,               )
                                        )    Civil No. 3:20-cv-00015
             Plaintiff,                 )
                                        )
             v.                         )
                                        )
$9,280.00 IN U.S. CURRENCY,             )
                                        )
             Defendant.                 )

                              ENTRY OF DEFAULT

      Based on the United States’ request to enter default, the Clerk of Court, in

accordance with Federal Rule of Civil Procedure 55(a), does hereby enter default of

any and all persons claiming an interest in the defendant property, including but not

limited to Terry Andre Barnes, Jr. and Sandra Avalos, for failure to pursue and/or

timely claim, answer or otherwise appear in this action after notice was provided

pursuant to Supplemental Rule G.

      Dated:____________________


                                       __________________________________
                                       Clerk of the Court
                                       Southern District of Iowa
